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                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


RAVGEN, INC.,
                                          Civil Action No. 6:20-CV-00969-ADA
                         Plaintiff,
                                          JURY TRIAL DEMANDED
   vs.

LABORATORY CORPORATION OF
AMERICA HOLDINGS,

                         Defendant.


    EXHIBIT E TO DEFENDANT LABCORP’S OPPOSITION TO PLAINTIFF
                  RAVGEN, INC.’S MOTIONS IN LIMINE
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Dated: August 5, 2022                Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that, on August 5, 2022 all counsel of record who are deemed to have

consented to electronic service are being served with a copy of the foregoing document via the

Court’s CM/ECF system.


                                                   /s/ Olivia M. Kim
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